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Intersections Inc. and Net Enforcers, Inc.,
Plaintiffs,
v.
Joseph C. Loomis and Jermi M. Loomis,

Defendants.

Case 1:09-cV-00597-LI\/|B-TCB Document 145 Filed 07/14/10 Page 1 of 2 Page|D# 2053

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

Civil Action No. 1:09CV597 (LMB/TCB)

FILED UNDER SEAL

 

 

 

MEMOILANDUM IN OPPOSITION TO PLAINTIFFS’
MOTION TO ENFORCE PURPORTED SETTLEMENT

FILED UN])ER SEAL

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/S/

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CERTIFICATE OF SERVICE
l hereby certify that on this 14th day of July, 2010, l have filed a true and correct copy of the
foregoing With the Clerl< of Court via the Cl\/[/ECF eflling system Which Will send notification of

this filing to the following counsel of record:

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